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     Attorneys for Counter-Defendant NEMAN BROTHERS & ASSOC., INC.
 6

 7                              UNITED STATES DISTRICT COURT

 8                             CENTRAL DISTRICT OF CALIFORNIA

 9
     NEMAN BROTHERS & ASSOC.,                              Case No.: 2:20-cv-11181-CAS-JPR
10
     INC., a California Corporation,
                                                           EVIDENTIARY OBJECTION TO
11                                                         DECLARATION OF CHANGUANG TAO
                  Plaintiff,
12                v.

13                                                         Date: December 6, 2021
     INTERFOCUS, INC. d.b.a.
                                                           Time: 10 a.m.
     www.patpat.com, a Delaware
14
     Corporation; CAN WANG, and
15   individual, and DOES 1-10, inclusive.,

16                 Defendants.
     ---------------------------------------------------
17   INTERFOCUS, INC. d.b.a.
     www.patpat.com, a Delaware
18
     Corporation; CAN WANG, an
19   individual, and DOES 1-10, inclusive,

20                Counterclaim Plaintiffs,
                  v.
21
     NEMAN BROTHERS & ASSOC.,
22
     INC., a California Corporation;
23
                      Counterclaim Defendant.
24

25


                                             1
                  EVIDENTIARY OBJECTION TO DECLARATION OF CHANGUANG TAO
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 1                                 EVIDENTIARY OBJECTIONS

 2

 3        MATERIAL OBJECTED TO                    GROUNDS FOR                   COURT’S

 4                                                  OBJECTION                    RULING

 5   1. I am the General Manager for         lack of disclosure on the       Sustained: ____

 6                                           FRCP rule 26 and rule 37        Overruled:____
     Foshan Chancheng District Aibeibei
 7                                           (Interfocus never identified
     Garment Factory (“Aibeibei”), a
 8                                           or disclosed this person as a
     supplier to Interfocus Inc.
 9                                           potential witness until the

10   (“Interfocus”).                         date of filing this

11                                           declaration.)

12   I have worked for Aibeibei since
13
     2009.
14

15
     1 have personal knowledge of the
16                                           Alleging the Chinese law
17   following facts except where            prohibits the deposition of a
18   otherwise indicated, and if called      witness in China even via
19   upon as a witness, I could and would zoom, Interfocus refused to
20                                           produce even its president's
     competently testify thereto.
21                                           deposition.
22   2. Aibeibei supplied this garment to    hearsay / lack of foundation    Sustained: ____
23                                           / documents (transaction        Overruled:____
     Interfocus (see below).
24                                           records) speak for
25


                                           2
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 1                                         themselves. / “supplied” is

 2                                         vague

 3

 4

 5

 6

 7

 8

 9

10

11
     3. Aibeibei purchased the fabric to   lack of foundation /             Sustained: ____
12
                                           documents (transaction           Overruled:____
13   make this garment from XinRan
                                           records) speak for
14   Textile Company in China.
                                           themselves. / hearsay
15

16
                                           hearsay / lack of personal       Sustained: ____
17
     XinRan told me it purchased the       knowledge / “open market”        Overruled:____
18
     fabric from open fabric market in     is vague / Vega as to the
19
                                           time and identity of the
20   Guangdong, China.
                                           seller of the fabric / lack of
21
                                           foundation / documents
22
                                           (transaction records) speak
23
                                           for themselves.
24

25


                                          3
               EVIDENTIARY OBJECTION TO DECLARATION OF CHANGUANG TAO
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 1    4. In addition, this fabric is available   Expert’s testimony without

 2                                               proper foundation / Legal    Sustained: ____
      on the internet. I have seen multiple
 3                                               conclusion without proper
      offerings of garments made from
 4                                               foundation
      this fabric on 1688. Please see an
 5                                                                            Overruled:____

 6    example at the

 7    attached Exhibit A, which is also
 8    shown at the link below.
 9
      httns://detail.
10
      1688.com/offer/63907291591
11
      l.html?$pm-a26352.b284L13J9.of
12

13    ferlist.6.73edle62XM89Wc

14

15
     IT IS SO ORDERED.
16

17
     Dated:
18
                                                      ________________________
19
                                                      Honorable Judge Christina A. Snyder
20                                                    United States District Court

21

22

23

24

25


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                  EVIDENTIARY OBJECTION TO DECLARATION OF CHANGUANG TAO
